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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


 James Irving Dale,                          Civil No. 18-cv-886-DWF-DTS

               Plaintiff,
                                             NOTICE OF APPEARANCE OF
        v.                                   DANIEL E. GUSTAFSON

 Tom Roy, et al.,

               Defendants.


       The undersigned attorney hereby notifies the Court and counsel that Daniel E.

Gustafson, of Gustafson Gluek PLLC, shall appear as counsel of record for Plaintiff James

Irving Dale in this matter.


Dated: September 19, 2018                Respectfully submitted,

                                         GUSTAFSON GLUEK PLLC

                                         s/Daniel E. Gustafson
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